96 F.3d 1437
    William T. Windley, Victoria Windleyv.Potts Welding and Boiler Repair Company, Inc., a DelawareCorporation, MSMW Industries, Inc., a Delaware Corporation,City of Dover, Babcock &amp; Wilcox Company, a DelawareCorporation, ABB Air Preheater, Inc., a DelawareCorporation, Erectors, Inc., a Delaware Corporation
    NO. 96-7127
    United States Court of Appeals,Third Circuit.
    Aug 19, 1996
    
      Appeal From:  D.Del., No. 94-00432,
      Robinson, J.
    
    
      1
      AFFIRMED.
    
    